






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00731-CV






Housing Authority of the City of Austin, Appellant


v.


Theresa M. Perez and All Other Occupants, Appellee






FROM THE OF COUNTY COURT AT LAW NO.1 OF TRAVIS COUNTY,

 NO. C-1-CV-08-006943, HONORABLE J. DAVID PHILLIPS, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



		Appellant Housing Authority of the City of Austin has notified this Court that the
parties have resolved and settled all issues made the basis of this appeal.  Appellant has filed a
motion to dismiss its appeal and certifies that it has conferred with appellee Theresa M. Perez and
that Perez does not oppose this motion.  We grant the motion and dismiss the appeal.  See Tex. R.
App. P. 42.1(a) (1).


						__________________________________________

						Jan P. Patterson, Justice

Before Justices Patterson, Puryear, and Pemberton


Dismissed on Appellant's Motion


Filed:   August 11, 2010


